      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 1 of 6
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             October 03, 2016
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                        David J. Bradley, Clerk

                             BROWNSVILLE DIVISION



JUAN M. GONZALEZ,                           §
Plaintiff,                                  §
                                            §
v.                                          §      Case No. 1:16-cv-247
                                            §
STATE FARM LLOYDS,                          §
Defendant.                                  §



                             MAGISTRATE JUDGE’S
                         REPORT AND RECOMMENDATION

      The Court is in receipt of Plaintiff’s opposed Motion to Remand (hereinafter,

Plaintiff’s “Motion”).    Dkt. No. 3.   Plaintiff seeks remand to the 444th Judicial

District Court of Cameron County, Texas; and asks the Court to award him his

related “court costs, expenses, and attorney’s fees.” Id. at 2. It is recommended

that the Court deny Plaintiff’s Motion and related request for court costs, expenses,

and attorney’s fees.



                              I. Statement of the Case

      On September 23, 2016, Defendant State Farm Lloyds filed a Notice of

Removal, removing Plaintiff’s civil action to this Court from the 444th Judicial

District Court of Cameron County, Texas. Dkt. No. 1. On September 28, 2016,

Plaintiff filed his Motion, stating that this Court should remand his case back to

state court because Defendant’s removal was improper.           Dkt. No. 3 at 1-2.

                                                                                       1/6
      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 2 of 6



Specifically, Plaintiff argues that Defendant’s removal was improper because

Defendant has failed to show that the amount in controversy in this action exceeds

$75,000.00; therefore, this Court lacks diversity jurisdiction pursuant to 28 U.S.C.

§ 1332. Id. Plaintiff additionally asserts that the Court should award him court

costs, expenses, and attorneys’ fees because Defendant’s improper removal has

forced him to file his instant Motion. Id. at 2.

         Although Defendant’s response to Plaintiff’s Motion is not yet due, the Court

need not wait for Defendant’s response to deny Plaintiff’s Motion.            Denying

Plaintiff’s Motion is proper here because it is clear that his claims are likely to

exceed $75,000.00, exclusive of interests and costs.



                                 II. Legal Standard

         The party removing an action bears the burden of establishing that federal

jurisdiction is present. Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir.

2001).     All doubts concerning whether removal jurisdiction is proper must be

resolved in favor of remand. Acuna v. Brown & Root, Inc., 200 F.3d 335, 339 (5th

Cir. 2000). Pursuant to 28 U.S.C. § 1332, a federal court will not have subject

matter jurisdiction unless: (1) “the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs,” and (2) complete diversity of citizenship

is present between the parties. 28 U.S.C. § 1332 (“Diversity of citizenship; amount

in controversy; costs”).

         Generally, “the sum demanded in good faith in the initial pleading
         shall be deemed to be the amount in controversy.” However, when the

                                                                                    2/6
      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 3 of 6



      state practice does not permit a demand for a specific sum, removal is
      proper if the removing party proves by a preponderance of the evidence
      that the amount in controversy exceeds $75,000. Defendant can
      satisfy this burden by (1) showing it is “apparent from the face of the
      petition that the claims are likely to exceed $75,000” or (2) setting
      forth “summary judgment-type evidence of facts in controversy that
      support a finding of the requisite amount.”

      “[I]f it is facially apparent from the petition that the amount in
      controversy exceeds $75,000 at the time of removal, post-removal
      affidavits, stipulations, and amendments reducing the amount do not
      deprive the district court of jurisdiction.” In other words, these post-
      removal filings may only be considered in determining the amount in
      controversy “if the basis for jurisdiction is ambiguous at the time of
      removal.” “Under those circumstances, the court is still examining the
      jurisdictional facts as of the time the case is removed, but the court is
      considering information submitted after removal.”

Villarreal v. State Farm Lloyds, No. 7:15-CV-292, 2015 WL 5838876, at *1 (S.D.

Tex. Oct. 7, 2015) (citations omitted).



                                   III. Discussion

      The Original Petition that Plaintiff filed in state court seeks “all” damages

available under the Texas Deceptive Trade Practices Act (“DTPA”). Dkt. No. 1-4 at

8. Under the DTPA, a plaintiff may recover “three times the amount of economic

damages” if the defendant acted “knowingly.”          TEX. BUS. COM. CODE ANN.

§ 17.50(b)(1). Here, Plaintiff’s Original Petition asserts that the Defendant acted

knowingly in violating the DTPA. Dkt. No. 1-4 at 7. Plaintiff’s Original Petition

does not specify the amount of economic damages he is seeking.             However,

Defendant has submitted evidence indicating that Plaintiff is seeking $26,902.37 in




                                                                                  3/6
      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 4 of 6



economic damages. See Dkt. No. 1-2 at 5 (containing Plaintiff’s pre-suit “Demand

for Relief”). Three times $26,902.37 is $80,707.11, an amount well over $75,000.00.

      There is nothing in the record showing that Plaintiff abdicated his claim for

treble damages prior to removal. Plaintiff’s two-page Motion does not demonstrate

that Defendant has failed to meet its burden of proof. Accordingly, the Court finds

that Defendant has shown, by a preponderance of the evidence, that the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

      Further, Defendant argues that complete diversity exists between the parties

because Plaintiff is a citizen of Texas, and Defendant is a citizen of Illinois. See

Dkt. No. 1 at 2.      Plaintiff has not disputed this allegation, or demonstrated

otherwise. Both the record and relevant authority support Defendant’s argument.

See Dkt. No. 1 at 2 (“State Farm is a ‘Lloyd’s Plan’ . . . . an unincorporated

association of underwriters who were at the time this action was commenced, and

still are, all citizens and residents of Illinois”); Dkt. No. 1-4 at 4-5 (indicating that

Plaintiff resides in Cameron County, Texas); Dkt. No. 1-4 at 2, 4 (same); Royal Ins.

Co. of Am. v. Quinn-L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993) (for purposes of

determining diversity jurisdiction, courts consider the citizenship of the underwriter

members of unincorporated insurance associations, like those selling insurance

under a “Lloyd’s plan”); Van Tassel v. State Farm Lloyds, No. 4:14-CV-2864, 2015

WL 4617241, at *1 (S.D. Tex. July 31, 2015) (noting that State Farm Lloyds is “a

citizen of Illinois” for purposes of determining whether State Farm Lloyds is diverse

from a Texas plaintiff); Landor v. State Farm Lloyds, No. 3:12-CV-4268-M, 2013 WL



                                                                                      4/6
      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 5 of 6



1746003, at *1, n.1 (N.D. Tex. Apr. 23, 2013) (“State Farm is a ‘Lloyd's Plan’ . . . . an

association of underwriters, each of whom . . . were, and still are, citizens of the

states of Illinois, Florida and Pennsylvania, making State Farm a citizen of the

states of Illinois, Florida, and Pennsylvania for diversity purposes.”) (citing “Massey

v. State Farm Lloyds Ins. Co., 993 F.Supp. 568, 570 (S.D. Tex. 1998) (‘In this case,

therefore, the citizenship of State Farm Lloyds must be determined solely by the

citizenship of its members, or underwriters.’)).

      The Court finds that the amount in controversy in this case exceeds

$75,000.00, exclusive of interests and costs. The Court additionally finds that the

parties are completely diverse.     Therefore, this Court has diversity jurisdiction

pursuant to 28 U.S.C. § 1332. Plaintiff’s Motion lacks merit and should be denied.



                               IV. Recommendation

      It is recommended that the Court deny Plaintiff’s Motion (Dkt. No. 3) and

related request for court costs, expenses, and attorney’s fees.



                              V. Notice to the Parties

      A party’s failure to file written objections to the proposed findings,

conclusions,   and    recommendation      in   a   magistrate     judge’s   report   and

recommendation within fourteen days after being served with a copy shall bar that

party, except upon grounds of plain error, from attacking on appeal the unobjected-

to proposed factual findings and legal conclusions accepted by the district court,



                                                                                      5/6
      Case 1:16-cv-00247 Document 7 Filed in TXSD on 10/03/16 Page 6 of 6



provided that the party has been served with notice that such consequences will

result from a failure to object. Douglass v. United Services Auto. Ass’n, 79 F.3d 1415

(5th Cir. 1996).


      Signed on this 3rd day of October, 2016.




                                              ____________________________________
                                              Ignacio Torteya, III
                                              United States Magistrate Judge




                                                                                   6/6
